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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Nealy L Skeldon
                                                   Plaintiff,
v.                                                                    Case No.: 1:25−cv−06078
                                                                      Honorable Joan B. Gottschall
Dermacare USA Corporation, et al.
                                                   Defendant.



                             NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 18, 2025:


          MINUTE entry before the Honorable Joan B. Gottschall:
Defendant Dermacare USA Corporation ("Dermacare") moves [10] to stay its deadline to answer certain
counts of the complaint, specifically those counts it does not intend to put at issue in its anticipated motion
to dismiss the complaint. Dermacare plans to file its motion to dismiss by June 20, 2025. Plaintiff Nealy
Skeldon opposes Dermacare's motion to stay.

The court administratively stays Dermacare's deadline to answer the complaint to allow Dermacare to file its
motion to dismiss and to permit Skeldon to be heard on the motion to stay. Skeldon's response to
Dermacare's motion to stay [10] filed June 16, 2025, is due by and including June 24, 2025. Dermacare's
reply, if any, is due by and including June 26, 2025.

Mailed notice(mjc, )




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